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IN THE UNITED STATES DISTRICT COURT By :~.. D.Q
FOR THE WESTERN DISTRICT OF TENNESSEE 05
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UNITED sTATES 0F AMERICA, US_ F)§M mm
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Plaimiff, ' ‘ `
vs. Case No. 2:04cr20189-Ma
Bryant Faulkner

 

ORDER REFUNDING CASI-I APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
It now appears that the defendant has complied with the requirements of said bond and orders of
this Court.
IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $600.00,

payable to Bryant Faulkner at 1387 Central Avenue, Apt 910, Memphis, TN 38104 in full refund of

~J/ M
United States District Judge
Samuel H. Mays, Jr.

the cash appearance bond posted herein.

 

 

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Date: ~b) l
Approved.
Tho . Gould, Clerk of Court

BY:
Depu

 

Th|s doc\.ment entered on the docket sheet fn compliance

with ama 55 and/or 32rb) FRch on _ll=?_‘&§ 05

    
 
 
 
 

  

       
 

UNITD SATES ISTRICT COURT - WETERN DISITRCT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 65 in
case 2:04-CR-20189 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

